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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                            April 16, 2024
                             UNITED STATES DISTRICT COURT
                                                                                         Nathan Ochsner, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION


M.D., et al.,                                     §
         Plaintiffs,                              §
                                                  §
VS.                                               §        CIVIL ACTION NO. 2:11-CV-00084
                                                  §
GREG ABBOTT, et al.,                              §
      Defendants.                                 §

                                              ORDER

      For all the reasons stated in docket entry 1560, and considering the safety of the children,

the request for stay (D.E. 1562) is denied.

          SIGNED and ORDERED on April 16, 2024.


                                                        _________________________________
                                                        Janis Graham Jack
                                                        Senior United States District Judge




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